                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

NORTHRIM BANK, an Alaska state-           )
charters bank,                            )
                                          )
                  Plaintiff,              )
                                          )
                  vs.                     )
                                          )
OSBORNE CONSTRUCTION                      )
COMPANY, a Washington corporation,        )
                                          )        Case No. 3:10-cv-00211-RRB
                  Defendant.              )
_____________________________________)
OSBORNE CONSTRUCTION                      )
COMPANY, a Washington corporation,        )
                                          )
                   Third-Party Plaintiff, )        FINAL JUDGMENT BY DEFAULT
                                          )          ON APPLICATION TO CLERK
                   vs.                    )           [THIRD-PARTY CLAIMS]
                                          )
3-WAY ELECTRIC OF ALASKA, INC., an )
Alaska corporation, HANDLE                )
CONSTRUCTION CO., an Alaska               )
corporation, MARC A. MARLOW, 115 E.       )
3RD AVENUE, LLC, EGAE, LLC,               )
HUNTER MECHANICAL, INC.,                  )
MARLOW MANOR DOWNTOWN, LLC, )
                                          )
                   Third-Party            )
                   Defendants.            )
_____________________________________)

               Default was entered against Third-Party Defendants on August 31, 2011, Docket

No. 43. The Affidavit of Counsel establishes a sum certain due under the Third-Party Complaint.

               THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

Third-Party Plaintiff Osborne Construction Company have and recover Judgment against Third-

Party Defendants Marc A. Marlow, 3-Way Electric of Alaska, Inc., an Alaska corporation, Handle

Construction Co., an Alaska corporation, 115 E. 3RD Avenue, LLC, an Alaska limited liability


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         Case 3:10-cv-00211-RRB Document 84 Filed 09/18/12 Page 1 of 2
company, EGAE, LLC, an Alaska limited liability company, Hunter Mechanical, Inc., an Alaska

Corporation, and Marlow Manor Downtown, LLC, an Alaska Limited Liability Company, jointly

and severally, in the following sums, representing the amount of the Judgment entered in favor of

Plaintiff: ONE MILLION, FORTY-NINE THOUSAND, FOUR HUNDRED EIGHTY-ONE

DOLLARS AND TEN CENTS ($1,049,481.10), costs awarded to Plaintiff in the amount of

$________________, prejudgment interest award to Plaintiff in the amount of $_______________

attorney’s fees awarded to Plaintiff in the amount of $__________________, plus Third-Party

Plaintiff’s attorney’s fees in the amount of $___________________ and Third-Party Plaintiff’s costs

in the amount of $___________________, for a total judgment in favor of Third-Party Plaintiff

Osborne Construction Company and against Third-Party Defendants Marc A. Marlow, 3-Way

Electric of Alaska, Inc., an Alaska corporation, Handle Construction Co., an Alaska corporation, 115

E. 3RD Avenue, LLC, an Alaska limited liability company, EGAE, LLC, an Alaska limited liability

company, Hunter Mechanical, Inc., an Alaska corporation, and Marlow Manor Downtown, LLC, an

Alaska limited liability company, jointly and severally, in the amount of

$________________________.

                This Judgment shall bear interest at the rate of 0.18% per annum from the entry

hereof.

                DATED at Anchorage, Alaska this 18th day of September, 2012.


                                                      /s/Marvel Hansbraugh___
                                                     Clerk of U.S. District Court




FINAL JUDGMENT BY DEFAULT ON APPLICATION TO CLERK [THIRD-PARTY CLAIMS]
Page 2
117683/7747.1
          Case 3:10-cv-00211-RRB Document 84 Filed 09/18/12 Page 2 of 2
